      Case 3:13-cv-00098 Document 49 Filed in TXSD on 04/26/18 Page 1 of 14
                                                                            United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                                                                                 April 26, 2018
                           UNITED STATES DISTRICT COURT
                                                                              David J. Bradley, Clerk
                            SOUTHERN DISTRICT OF TEXAS
                               GALVESTON DIVISION

NELSON ROMERO,                                 §
                                               §
          Petitioner,                          §
VS.                                            § CIVIL ACTION NO. 3:13-CV-98
                                               §
WILLIAM STEPHENS,                              §
                                               §
          Respondent.                          §

                             MEMORANDUM AND ORDER

         State inmate Nelson Romero seeks a federal writ of habeas corpus under 28 U.S.C.

§ 2254 challenging his Texas state court conviction for possessing a deadly weapon in a

penal institution. (Docket Entry No. 3). Respondent Lorie Davis has filed a motion for

summary judgment, arguing that Romero’s claims are without merit and that he is not

entitled to relief. (Docket Entry No. 20). Romero has responded. (Docket Entry Nos.

44, 47, 48). After reviewing the record, the pleadings, and the applicable law, with

special consideration given to the Anti-Terrorism and Effective Death Penalty Act’s

(“AEDPA”) deferential standard of review, the Court will grant Respondent’s motion for

summary judgment and deny Romero’s petition. The Court will not certify any issue for

appellate review.

         The Court sets forth the reasons for its adjudication below.

                                      BACKGROUND

         Romero was imprisoned in the Darrington Unit of the Texas Department of

Criminal Justice on May 28, 2006, when a riot broke out. As a result of Romero’s



1 / 14
     Case 3:13-cv-00098 Document 49 Filed in TXSD on 04/26/18 Page 2 of 14



actions during a fight, the State of Texas charged him with the felony offense of

possessing a deadly weapon in a penal institution. Clerk’s Record at 2. The indictment

specified that Romero possessed “a metal rod sharpened to a point.” Clerk’s Record at 2.

The indictment included two enhancement paragraphs based on Romero’s prior

convictions for aggravated assault and aggravated robbery. Clerk’s Record at 2.

         The State tried Romero under cause number 58710 in the 23rd Judicial District

Court of Brazoria County, Texas. The trial testimony showed as follows:

         Inmate Ricky Zackery testified that [Romero] “tried to take my life” and
         “tried to kill me” with the shank by stabbing him below the chest and in the
         shoulder during the prison fight.          Zackery testified that he lost
         consciousness after the fight and was transported to the hospital in an
         ambulance. Zackery testified that he stayed in the hospital approximately
         two days, and he was given pain medication for seven days after the
         incident.

         Inmate Adrian Richmond testified at trial that he saw [Romero] stab
         Zackery and at least one other inmate with a shank during the prison fight.
         Richmond testified that Zackery was “covered in blood” after [Romero]
         stabbed Zackery two times, and that “blood was everywhere.” Inmate Fred
         Primes also testified that he saw [Romero] holding a shank during the fight.
         Primes testified that although he did not see [Romero] stab anyone, other
         inmates did. Richmond and Investigator Rebecca Dougherty testified that
         weapons similar to the shank [Romero] used in the prison fight were
         “capable of causing death or serious bodily injury.”

         Richmond admitted that his trial testimony differed from one of his initial
         statements to police, in that (1) he testified at trial that [Romero] held two
         shanks during the fight, but stated at an earlier point that [Romero] held one
         shank; and (2) one of his initial statements identified a different inmate as
         the individual who stabbed Zackery. Richmond testified that “when the
         shanks came out . . . I mean it happened fast.”




2 / 14
     Case 3:13-cv-00098 Document 49 Filed in TXSD on 04/26/18 Page 3 of 14



Romero v. State, 331 S.W.3d 82, 84 (Tex. App. -Houston [14th Dist.], 2010). The jury

found Romero guilty and assessed his punishment at thirty years confinement. Clerk’s

Record at 60, 79.

         Through appointed counsel, Romero filed an appeal arguing that the evidence was

factually and legally insufficient to sustain his conviction for using a deadly weapon.

The Fourteenth Court of Appeals of Texas affirmed his conviction in a published opinion.

Romero v. State, 331 S.W.3d 82 (Tex. App. -Houston [14th Dist.] Dec. 2, 2010, pet.

ref’d). The Texas Court of Criminal Appeals refused Romero’s out-of-time petition for

discretionary review (“PDR”). Ex parte Romero, 2011 WL 5220479 (Tex. Crim. App.

Nov. 2, 2011); Romero v. State, PDR. No. 1756-11.1

         Romero did not seek state habeas relief from his conviction or sentence.

         On March 31, 2013, Romero filed a federal petition for a writ of habeas corpus

and a memorandum brief in support. (Docket Entry Nos. 3, 4). Romero’s petition again

challenges the factual and legal sufficiency of the evidence supporting his conviction.

Respondent has moved for summary judgment,2 and Romero has responded. This matter

is ripe for adjudication.



1
         Romero missed the initial deadline for filing a PDR. Romero filed a state habeas
application requesting permission to file an out-of-time PDR because the United States Postal
Service held his petition for more than a month before returning it for insufficient postage. The
Texas Court of Criminal Appeals granted Romero’s request and considered his subsequent PDR
as if timely filed.
2
        Because Romero did not file a timely reply to the summary judgment motion, his petition
was initially dismissed for a failure to prosecute. (Docket Entry No. 22). Romero filed a motion
for reconsideration, but subsequently appealed the dismissal. (Docket Entry Nos. 23, 24). The
Court of Appeals for the Fifth Circuit vacated the judgment and remanded this case for further


3 / 14
       Case 3:13-cv-00098 Document 49 Filed in TXSD on 04/26/18 Page 4 of 14



                                 STANDARD OF REVIEW

         The writ of habeas corpus provides an important, but narrow, examination of an

inmate’s conviction and sentence. See Harrington v. Richter, 562 U.S. 86, 103 (2011);

Barefoot v. Estelle, 463 U.S. 880, 887 (1983).            “Society’s resources have been

concentrated at [a criminal trial] in order to decide, within the limits of human fallibility,

the question of guilt or innocence of one of its citizens.” Wainwright v. Sykes, 433 U.S.

72, 90 (1977); see also McFarland v. Scott, 512 U.S. 849, 859 (1994) (stating that a

“criminal trial is the ‘main event’ at which a defendant’s rights are to be determined”).

The States, therefore, “possess primary authority for defining and enforcing the criminal

law.     In criminal trials they also hold the initial responsibility for vindicating

constitutional rights.” Engle v. Isaac, 456 U.S. 107, 128 (1982). As “a foundational

principle of our federal system,” state courts “are adequate forums for the vindication of

federal rights.” Burt v. Titlow, 571 U.S. 12, 15 (2013); see also Woodford v. Visciotti,

537 U.S. 19, 24 (2002) (recognizing AEDPA’s “presumption that state courts know and

follow the law”).        Given this required deference to the state-court system, several

principles circumscribe both the nature of federal habeas review and the availability of

federal habeas relief.

         Mirroring a foundational principle in federal habeas law, AEDPA “unambiguously

provides that a federal court may issue the writ to a state prisoner ‘only on the ground

that he is in custody in violation of the Constitution or laws or treaties of the United


proceedings. Romero v. Stephens, 624 F. App’x 231, 232 (5th Cir. 2015). Romero has since
responded to the summary judgment motion.



4 / 14
     Case 3:13-cv-00098 Document 49 Filed in TXSD on 04/26/18 Page 5 of 14



States.’” Wilson v. Corcoran, 562 U.S. 1, 16 (2010) (quoting 28 U.S.C. § 2254(a)).

Accordingly, “federal habeas corpus relief does not lie for errors of state law.” Swarthout

v. Cooke, 562 U.S. 216, 219 (2011) (quotation omitted); see also Corcoran, 562 U.S. at

16; Estelle v. McGuire, 502 U.S. 62, 67 (1991). “[O]nly noncompliance with federal law

. . . renders a State’s criminal judgment susceptible to collateral attack in the federal

courts.” Corcoran, 562 U.S. at 5.

         If the inmate has presented federal constitutional claims to the state courts in a

procedurally proper manner, and the state courts have adjudicated their merits, AEDPA

provides for a deferential federal review. “[A] habeas petitioner has the burden under

AEDPA to prove that he is entitled to relief.” Montoya v. Johnson, 226 F.3d 399, 404

(5th Cir. 2000); see also DiLosa v. Cain, 279 F.3d 259, 262 (5th Cir. 2002). Under

AEDPA’s rigorous requirements, an inmate may only secure relief after showing that the

state court’s rejection of his claim was either “contrary to, or involved an unreasonable

application of, clearly established Federal law, as determined by the Supreme Court of

the United States,” or was “based on an unreasonable determination of the facts in light

of the evidence presented in the State court proceeding.” 28 U.S.C. § 2254(d)(1),(2).

         To merit relief under AEDPA, a petitioner may not merely show legal error in the

state court’s decision. See White v. Woodall, ___ U.S. ___, 134 S. Ct. 1697, 1702 (2014)

(stating being “merely wrong” or in “clear error” will not suffice federal relief under

AEDPA). AEDPA review exist only to “guard against extreme malfunctions in the state

criminal justice systems . . . .” Woods v. Donald, ___ U.S. ___, 135 S. Ct. 1372, 1376

(2015) (quotation omitted). “[F]ocus[ing] on what a state court knew and did,” Cullen v.


5 / 14
     Case 3:13-cv-00098 Document 49 Filed in TXSD on 04/26/18 Page 6 of 14



Pinholster, 563 U.S. 170, 182 (2011), AEDPA requires inmates to “‘show that the state

court’s ruling on the claim being presented in federal court was so lacking in justification

that there was an error well understood and comprehended in existing law beyond any

possibility for fairminded disagreement.’” Woodall, 134 S. Ct. at 1702 (quoting Richter,

562 U.S. at 103); Berghuis v. Thompkins, 560 U.S. 370, 380 (2010); Williams v. Taylor,

529 U.S. 362, 413 (2000). “If this standard is difficult to meet, that is because it was

meant to be.” Richter, 562 U.S. at 102.

         Respondent moves for summary judgment. Summary judgment is proper when

the record shows “that the moving party is entitled to judgment as a matter of law.” FED.

R. CIV. P. 56(c).    “As a general principle, Rule 56 of the Federal Rules of Civil

Procedure, relating to summary judgment, applies with equal force in the context of

habeas corpus cases.” Clark v. Johnson, 202 F.3d 760, 764 (5th Cir. 2000). AEDPA,

however, modifies summary judgment principles in the habeas context. See Torres v.

Thaler, 395 F. App’x 101, 106 n.17 (5th Cir. 2010) (“Summary judgement in federal

habeas is different than in the average civil case.”); Smith v. Cockrell, 311 F.3d 661, 668

(5th Cir. 2002) (Rule 56 “applies only to the extent that it does not conflict with the

habeas rules”), overruled on other grounds by Tennard v. Dretke, 542 U.S. 274 (2004).

For example, § 2254(e)(1), mandating that a state court’s findings are presumed to be

correct, overrides the summary judgment rule that all disputed facts must be construed in

the light most favorable to the non-movant. Smith, 311 F.3d at 668. Unless a petitioner

can rebut the presumption of correctness of a state court’s factual findings by clear and




6 / 14
     Case 3:13-cv-00098 Document 49 Filed in TXSD on 04/26/18 Page 7 of 14



convincing evidence, such findings must be accepted as correct by the federal habeas

court. See 28 U.S.C. § 2254(e)(1).

         Romero represents himself. Federal courts do not hold pro se habeas petitions “to

the same stringent and rigorous standards as are pleadings filed by lawyers.” Hernandez

v. Thaler, 630 F.3d 420, 426 (5th Cir. 2011) (quotation omitted). Accordingly, “[t]he

filings of a federal habeas petitioner who is proceeding pro se are entitled to the benefit

of liberal construction.” Id.

                                         ANALYSIS

         Romero’s federal petition raises one ground for relief urging the same basic

arguments he made on direct appeal: the evidence was legally and factually insufficient

to support his conviction. On direct appeal, Romero emphasized that, to prove his guilt

for possessing a deadly weapon, the evidence had to show that the “shank” he possessed

could cause serious bodily injury or death. Romero asserted that the evidence was

insufficient because no medical testimony described the extent of the wounds suffered by

those Romero stabbed, allegedly preventing jurors from finding that the shank he

possessed was a deadly weapon. Thus, Romero argued that the evidence was both

factually and legally insufficient to support his conviction.3

         As discussed at length below, the Court finds that the federal constitution does not

require courts to engage in a factual-sufficiency review. The Court also concludes that


3
       In his response to the summary judgment motion, Romero claims that trial and appellate
counsel were ineffective for not raising certain arguments. This Court will only consider issues
Romero has exhausted in the state courts. 28 U.S.C. § 2254(b)(1).



7 / 14
     Case 3:13-cv-00098 Document 49 Filed in TXSD on 04/26/18 Page 8 of 14



the state court was not unreasonable in finding that legally sufficient evidence supported

his conviction.

A.       Factual Sufficiency

         Romero only merits federal habeas relief after showing “a violation of the

Constitution or laws or treaties of the United States.” 28 U.S.C. § 2254(a). The federal

constitution establishes baseline requirements for the evidence necessary to support a

criminal conviction. The Due Process Clause “requires proof of each element of a

criminal offense beyond a reasonable doubt.” Dretke v. Haley, 541 U.S. 386, 395 (2004)

(citing In re Winship, 397 U.S. 358, 364-65 (1970)). In Jackson v. Virginia, 443 U.S.

307 (1979), the Supreme Court set out the constitutional standard governing whether

sufficient evidence supports each element of a charged offense.        Under Jackson, a

reviewing court affirms a jury’s conviction if, considering all of the evidence in a light

most favorable to the prosecution, a rational trier of fact could have returned a verdict

unfavorable to the defendant.

         Texas courts now follow Jackson in deciding whether the evidence supporting an

inmate’s conviction is legally sufficient. See Cary v. State, 507 S.W.3d 761, 765 (Tex.

Crim. App. 2016); Fernandez v. State, 479 S.W.3d 835, 837 (Tex. Crim. App. 2016).

States, however, may create protections more rigorous than federal constitutional

standards. See Mills v. Rogers, 457 U.S. 291, 300 (1982) (“Within our federal system the

substantive rights provided by the Federal Constitution define only a minimum. State

law may recognize liberty interests more extensive than those independently protected by

the Federal Constitution.”). Prior to 2010, Texas courts engaged in a sufficiency-of-the-


8 / 14
     Case 3:13-cv-00098 Document 49 Filed in TXSD on 04/26/18 Page 9 of 14



evidence review broader than that required by Jackson. In what became known as the

Clewis standard, Texas courts crafted a factual-insufficiency-of-the-evidence review

which

asked whether the verdict was “so contrary to the overwhelming weight of the evidence

as to be clearly wrong and unjust.” Clewis v. State, 922 S.W.2d 126, 129 (Tex. Crim.

App. 1996). Texas derived that review exclusively from state law.             See Woods v.

Cockrell, 307 F.3d 353, 358 (5th Cir. 2002) (“The Clewis standard is rooted in the Texas

constitution.”). In 2010, the Court of Criminal Appeals abolished the Clewis factual

sufficiency review.      Texas courts now only apply the federal Jackson standard in

deciding whether sufficient evidence was presented at trial. See Brooks v. State, 323

S.W.3d 893, 912 (Tex. Crim. App. 2010).

         Romero argues that he merits federal habeas relief because the state court did not

engage in a Clewis factual-sufficiency review when denying his appeal. Texas based its

former factual-sufficiency on state law; the federal constitution, however, does not

require that analysis.    Federal law does not compel state courts to engage in any

sufficiency analysis apart from that outlined in Jackson. See Woods v. Cockrell, 307 F.3d

353, 358 (5th Cir. 2002); see also West v. Johnson, 92 F.3d 1385, 1394 (5th Cir. 1996)

(explaining that, “in challenges to state convictions under 28 U.S.C. § 2254, only Jackson

[v. Virginia] need be satisfied, even if state law would impose a more demanding

standard of proof”) (quotation and citations omitted). The state court’s failure to apply its




9 / 14
     Case 3:13-cv-00098 Document 49 Filed in TXSD on 04/26/18 Page 10 of 14



former law does not give rise to a viable federal constitutional issue.4 Federal review

only becomes available if Romero can show that the state court unreasonably applied

Jackson.

B.        Legal Sufficiency

          As stated above, Jackson asks whether, viewing the evidence “in the light most

favorable to the prosecution, any rational trier of fact could have found the existence of

facts necessary to establish the essential elements of the offense beyond a reasonable

doubt.” Jackson, 443 U.S. at 318-19; Dupuy v. Cain, 201 F.3d 582, 589 (5th Cir. 2000).

Under this standard, a court must refer to “the substantive elements of the criminal

offense as defined by state law,” Jackson, 443 U.S. at 324 n. 16, and resolve credibility

choices and conflicting inferences in favor of the verdict. United States v. Cyprian, 197

F.3d 736, 740 (5th Cir. 1999); United States v. Nguyen, 28 F.3d 477, 480 (5th Cir. 1994).




4
        As a subsidiary argument, Romero says that, by failing to apply Clewis, the state court
“was prohibited from analyzing the credibility of the witnesses,” leaving the court to ask only
“whether there is any evidence to support each of the elements” and to grant relief “only if there
is no evidence to support one of the elements.” (Docket Entry No. 47 at 7). Romero bases this
argument on a concurring opinion in his case by Justice Charles W. Seymore of the Fourteenth
Court of Appeals. Justice Seymore expressed concern that the abandonment of the Clewis
standard ignored the “factual-conclusivity clause of the Texas constitution.” Romero, 531
S.W.3d at 85 (Seymore, J., concurring). The federal constitution contains no comparable
counterpart and the Jackson standard does not require a factual sufficiency review. Jackson
expressly rejected a “no evidence” standard of review. Jackson, 443 U.S. at 314. The federal
Jackson standard also does not provide for the reassessment of credibility issues. “Determining
the weight and credibility of the evidence is within the sole province of the jury,” United States
v. Martinez, 975 F.2d 159, 161 (5th Cir. 1992), and “[a]ll credibility choices and conflicting
inferences are to be resolved in favor of the verdict,” Ramirez v. Dretke, 398 F.3d 691, 695 (5th
Cir. 2005). See also Schlup v. Delo, 513 U.S. 298, 250 (1995) (stating that, “under Jackson, the
assessment of the credibility of witnesses is generally beyond the scope of review”).



10 / 14
    Case 3:13-cv-00098 Document 49 Filed in TXSD on 04/26/18 Page 11 of 14



          Under Texas law, a person is guilty of possessing a deadly weapon in a penal

institution if “he intentionally, knowingly, or recklessly . . . carries on or about his person

a deadly weapon” or “possesses or conceals a deadly weapon in the penal institution.”

TEX PENAL CODE § 46.10. The Texas penal code defines a “deadly weapon” as either

“(A) a firearm or anything manifestly designed, made, or adapted for the purpose of

inflicting death or serious bodily injury” or “(B) anything that in the manner of its use or

intended use is capable of causing death or serious bodily injury.” Id. § 1.07(a)(17).

“Serious bodily injury” is “bodily injury that creates a substantial risk of death or that

causes death, serious permanent disfigurement, or protracted loss or impairment of the

function of any bodily member or organ.” Id. § 1.07(a)(46).

          “Homemade weapons or ‘shanks’ can be considered deadly weapons.” Barrera v.

State, 2010 WL 1655478, at *3 (Tex. App. -Houston [14 Dist.], 2010). To decide

whether an object was a deadly weapon, “a jury may consider all facts, including (1) the

physical proximity between the victim and the object, (2) the threats or words used by the

defendant, (3) the size and shape of the weapon, (4) the weapon’s ability to inflict death

or serious injury, and (5) the manner in which the defendant used the weapon.” Adame v.

State, 69 S.W.3d 581, 584 (Tex. Crim. App. 2002) (Meyer, J., concurring). Whether an

object is “capable of causing death or serious bodily injury” depends on the facts that

actually existed at the time of the offense. Drichas v. State, 175 S.W.3d 795, 798 (Tex.

Crim. App. 2005).

          Here, the Texas court evaluated the evidence showing that Romero possessed a

deadly weapon and “conclude[d] that viewed in the light most favorable to the jury’s


11 / 14
    Case 3:13-cv-00098 Document 49 Filed in TXSD on 04/26/18 Page 12 of 14



guilty verdict, the evidence sufficiently supports the jury’s finding that the weapon used

by [Romero] was deadly.” Romero, 331 S.W.3d at 84. Romero argues that the trial

evidence was insufficient because it did not show that he actually caused any serious

bodily injury. (Docket Entry No. 47 at 4). Texas law, however, did not require such a

showing.      Instead, Texas law allowed for his conviction if he possessed a weapon

capable of causing such an injury. See Johnson v. State, 509 S.W.3d 320, 324 n.6 (Tex.

Crim. App. 2017).

          The state court’s decision was not unreasonable in finding that sufficient evidence

supported Romero’s conviction.         Trial testimony explained that a shank like that

brandished by Romero could be a deadly weapon. Testimony showed that Romero used

a shank to stab other inmates, causing them to suffer injuries requiring hospitalization and

pain medication.       Whether or not Romero’s assault actually caused life-threatening

injuries, the trial testimony unequivocally showed that his weapon was, at a minimum,

capable of causing such. Moreover, the nature, extent, and severity of the wounds caused

by Romero’s shank would allow a reasonable jury to find that he possessed a deadly

weapon without needing medical testimony to establish that fact. Considering the trial

testimony and the requirements of state law, and doing so in a light most favorable to the

jury’s verdict, Romero has not shown that the state court’s adjudication of his claim was

contrary to, or an unreasonable application of, federal law. See 28 U.S.C. § 2254(d)(1).

                          CERTIFICATE OF APPEALABILITY

          Under AEDPA, a prisoner cannot seek appellate review from a lower court’s

judgment without receiving a Certificate of Appealability (“COA”).           See 28 U.S.C.


12 / 14
    Case 3:13-cv-00098 Document 49 Filed in TXSD on 04/26/18 Page 13 of 14



§ 2253(c). Romero has not yet requested that this Court grant him a COA, though this

Court can consider the issue sua sponte. See Alexander v. Johnson, 211 F.3d 895, 898

(5th Cir. 2000). “The COA statute establishes procedural rules and requires a threshold

inquiry into whether the circuit court may entertain an appeal.” Slack v. McDaniel, 529

U.S. 473, 482 (2000). A court may only issue a COA when “the applicant has made a

substantial showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2).

          The Fifth Circuit holds that the severity of an inmate’s punishment, even a

sentence of death, “does not, in and of itself, require the issuance of a COA.” Clark v.

Johnson, 202 F.3d 760, 764 (5th Cir. 2000). The Fifth Circuit, however, anticipates that

a court will resolve any questions about a COA in the death-row inmate’s favor. See

Hernandez v. Johnson, 213 F.3d 243, 248 (5th Cir. 2000). The Supreme Court has

explained the standard for evaluating the propriety of granting a COA on claims rejected

on their merits as follows: “Where a district court has rejected the constitutional claims

on the merits, the showing required to satisfy §2253(c) is straightforward: The petitioner

must demonstrate that reasonable jurists would find the district court’s assessment of the

constitutional claims debatable or wrong.” Slack, 529 U.S. at 484; Miller-El, 537 U.S. at

336-38. On the other hand, a district court that has denied habeas relief on procedural

grounds should issue a COA “when the prisoner shows, at least, that jurists of reason

would find it debatable whether the petition states a valid claim of the denial of a

constitutional right and that jurists of reason would find it debatable whether the district

court was correct in its procedural ruling. Slack, 529 U.S. at 484; Miller-El, 537




13 / 14
    Case 3:13-cv-00098 Document 49 Filed in TXSD on 04/26/18 Page 14 of 14



U.S. at 336-38. Unless the prisoner meets the COA standard, “no appeal would be

warranted.” Slack, 529 U.S. at 484.

          Having considered the merits of Romero’s petition, and in light of AEDPA’s

standards and controlling precedent, this Court determines that a COA should not issue

on any claim.

                                      CONCLUSION

          For the reasons described above, the Court GRANTS Respondent’s motion for

summary judgment, DENIES Romero’s petition, and DISMISSES this case WITH

PREJUDICE. All other requests for relief are DENIED. The Court will not certify any

issue for appellate review.

          SIGNED at Galveston, Texas, this 26th day of April, 2018.


                                              ___________________________________
                                              George C. Hanks Jr.
                                              United States District Judge




14 / 14
